         Case 10-93904-BHL-11                Doc 1080         Filed 03/09/12          EOD 03/10/12 00:43:14                Pg 1 of 5
                                                United States Bankruptcy Court
                                                Southern District of Indiana
 In re:                                                                                                     Case No. 10-93904-BHL
 Eastern Livestock Co., LLC                                                                                 Chapter 11
          Debtor
                                                  CERTIFICATE OF NOTICE
 District/off: 0756-4                  User: kgoss2                       Page 1 of 4                          Date Rcvd: Mar 07, 2012
                                       Form ID: SF00200                   Total Noticed: 6


 Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
 Mar 09, 2012.
 cr            +Bovine Medical Associates, LLC,   1500 Soper Road,   Carlisle, KY 40311-8083
 adb           +Eastern Livestock Co., LLC,   135 W. Market Street,   New Albany, IN 47150-3561
 op            +Greenebaum Doll & McDonald PLLC,   3500 National City Tower,   101 South Fifth Street,
                 ?Louisville, KY 40202-3157
 ptcrd         +Ike’s Trucking, Inc.,   Ike and Cherie Jacobs,   3087 Ervin Town Rd.,   Castlewood, VA 24224-9686
 op            +National Cattlemen’s Beef Association,   c/o Alice Devine,   6031 SW 37th St.,
                 Topeka, KA 66614-5128

 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
 aty           E-mail/Text: asr@btcmlaw.com Mar 08 2012 01:09:51     Ashley S Rusher,
                Blanco Tackabery & Matamoros PA,   PO Drawer 25008,    Winston-Salem, NC 27114-5008
                                                                                             TOTAL: 1

               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                               TOTAL: 0

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Mar 09, 2012                                       Signature:
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                              Form ID: SF00200            Total Noticed: 6


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 7, 2012 at the address(es) listed below:
              Allen Morris     on behalf of Creditor Republic Bank and Trust Company amorris@stites.com,
               dgoodman@stites.com
              Amelia Martin Adams    on behalf of Creditor Alton Darnell dba Darnell Alton Barn
               aadams@dlgfirm.com
              Andrea L Wasson    on behalf of Creditor Lytle Street Development andrea@wassonthornhill.com
              Andrew D Stosberg    on behalf of Defendant Willie Downs astosberg@lloydmc.com, bmarks@lloydmc.com
              Anthony G. Raluy    on behalf of Creditor Peoples Bank & trust Co. of Pickett County
               traluy@fbhlaw.net
              Bret S. Clement    on behalf of Creditor First Bank and Trust Company, The bclement@acs-law.com,
               sfinnerty@acs-law.com
              C. R. Bowles    on behalf of Creditor Joplin Regional Stockyards cbowles@bgdlegal.com,
               smays@bgdlegal.com;cjenkins@bgdlegal.com
              Charles R. Wharton    on behalf of U.S. Trustee U.S. Trustee Charles.R.Wharton@usdoj.gov,
               Charles.R.Wharton@usdoj.gov
              Christie A. Moore    on behalf of Counter-Defendant Superior Livestock Auction, Inc. cm@gdm.com,
               ljs2@gdm.com
              Christopher E. Baker    on behalf of Creditor Ozarks Regional Stockyard cbaker@hklawfirm.com,
               thignight@hklawfirm.com
              Christopher M. Trapp    on behalf of Petitioning Creditor Superior Livestock Auction, Inc.
               ctrapp@rubin-levin.net
              Daniel J. Donnellon    on behalf of Creditor First Bank and Trust Company, The
               ddonnellon@ficlaw.com, knorwick@ficlaw.com
              David A. Laird    on behalf of Creditor Peoples Bank of Coldwater Kansas
               david.laird@moyewhite.com, lisa.oliver@moyewhite.com;deanne.stoneking@moyewhite.com
              David Alan Domina    on behalf of Creditor Bellar Feed Lots, Inc. dad@dominalaw.com,
               KKW@dominalaw.com;efiling@dominalaw.com
              David L. Abt    on behalf of Other Professional David Abt davidabt@mwt.net
              David L. LeBas    on behalf of Counter-Defendant J&F Oklahoma Holdings, Inc.
               dlebas@namanhowell.com, koswald@namanhowell.com
              Deborah Caruso     on behalf of Other Professional Kathryn Pry dcaruso@daleeke.com,
               mthomas@daleeke.com
              Dustin R. DeNeal    on behalf of Intervenor James Knauer, Trustee dustin.deneal@faegrebd.com,
               patricia.moffit@faegrebd.com;sarah.herendeen@faegrebd.com
              Edward M King    on behalf of Creditor Fifth Third Bank tking@fbtlaw.com, dgioffre@fbtlaw.com
              Elliott D. Levin    on behalf of Petitioning Creditor Superior Livestock Auction, Inc.
               robin@rubin-levin.net, edl@trustesolutions.com;edl@trustesolutions.net
              Elliott D. Levin    on behalf of Cross Defendant Joplin Regional Stockyards, Inc.
               edl@rubin-levin.net, atty_edl@trustesolutions.com
              Eric C Redman    on behalf of Defendant Bankfirst Financial Services ksmith@redmanludwig.com,
               kzwickel@redmanludwig.com;myecfmailrl@gmail.com
              Eric W. Richardson    on behalf of Creditor Fifth Third Bank ewrichardson@vorys.com,
               bjtobin@vorys.com
              Erick P Knoblock    on behalf of Cross-Claimant Kathryn Pry eknoblock@daleeke.com
              Harmony A Mappes    on behalf of Counter-Claimant James Knauer harmony.mappes@faegrebd.com,
               judith.gilliam@faegrebd.com;sarah.herendeen@faegrebd.com
              Ivana B. Shallcross    on behalf of Creditor Joplin Regional Stockyards ishallcross@bgdlegal.com,
               smays@bgdlegal.com;tmills@bgdlegal.com
              Jack S Dawson    on behalf of Defendant Jane, LLC jdawson@millerdollarhide.com,
               jowens@millerdollarhide.com;receptionist@millerdollarhide.com
              James A. Knauer    on behalf of Plaintiff James Knauer, Trustee jak@kgrlaw.com, hns@kgrlaw.com
              James A. Knauer    jak@kgrlaw.com, hns@kgrlaw.com
              James B. Lind    on behalf of Counter-Defendant Fifth Third Bank jblind@vorys.com
              James Bryan Johnston    on behalf of Creditor Bynum Ranch Co. bjtexas59@hotmail.com,
               bryan@ebs-law.net
              James E Rossow    on behalf of Counter-Defendant Superior Livestock Auction, Inc.
               jim@rubin-levin.net, susan@rubin-levin.net;ATTY_JER@trustesolutions.com
              James E. Smith    on behalf of Cross Defendant Diamond B Ranches jsmith@smithakins.com,
               legalassistant@smithakins.com
              James Edwin McGhee    on behalf of Creditor Vermilion Ranch Corporation mcghee@derbycitylaw.com,
               belliott@derbycitylaw.com;patenaude@derbycitylaw.com
              James M. Carr    on behalf of Intervenor James Knauer, Trustee jim.carr@faegrebd.com,
               sarah.herendeen@faegrebd.com;patricia.moffit@faegrebd.com
              James T Young    on behalf of Intervenor Michael Walro james@rubin-levin.net,
               lemerson@rubin-levin.net;carmen@rubin-levin.net
              Jason W. Cottrell    on behalf of Creditor Rex Elmore jwc@stuartlaw.com
              Jay Jaffe     on behalf of Intervenor James Knauer, Trustee jay.jaffe@faegrebd.com,
               sarah.herendeen@faegrebd.com
              Jeffrey E. Ramsey    on behalf of Creditor Intrust Bank, NA jramsey@hopperblackwell.com,
               mhaught@hopperblackwell.com
              Jeffrey J. Graham    on behalf of Creditor Russell DeCordova d/b/a deCordova Cattle Company
               jgraham@taftlaw.com, ECFClerk@taftlaw.com;krussell@taftlaw.com;aolave@taftlaw.com
              Jeffrey L Hunter    on behalf of Joined Party United States Department of Agriculture, Grain Ins
               jeff.hunter@usdoj.gov, USAINS.ECFBankruptcy@usdoj.gov
              Jeffrey R. Erler    on behalf of Creditor Russell DeCordova d/b/a deCordova Cattle Company
               jeffe@bellnunnally.com
              Jerald I. Ancel    on behalf of Creditor Russell DeCordova d/b/a deCordova Cattle Company
               jancel@taftlaw.com, ecfclerk@taftlaw.com;krussell@taftlaw.com
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The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Jeremy S Rogers    on behalf of Other Professional Elizabeth Lynch Jeremy.Rogers@dinslaw.com,
               joyce.jenkins@dinslaw.com
              Jessica E. Yates    on behalf of Creditor CPC Livestock, LLC jyates@swlaw.com,
               jmilelli@swlaw.com;docket_den@swlaw.com;mmccleery@swlaw.com
              Jill Zengler Julian    on behalf of Joined Party United States Department of Agriculture, Grain
               Ins Jill.Julian@usdoj.gov
              Joe T. Roberts    on behalf of Counter-Claimant Laurel Livestock Market, INC.
               jratty@windstream.net
              John Huffaker     on behalf of Creditor Friona Industries, LP john.huffaker@sprouselaw.com,
               lynn.acton@sprouselaw.com;rhonda.rogers@sprouselaw.com
              John David Hoover    on behalf of Trustee James Knauer jdhoover@hooverhull.com
              John Frederick Massouh    on behalf of Counter-Defendant Cactus Growers, Inc.
               john.massouh@sprouselaw.com
              John Hunt Lovell    on behalf of Counter-Defendant Cactus Growers, Inc. john@lovell-law.net,
               sabrina@lovell-law.net;shannon@lovell-law.net;paula@lovell-law.net
              John M. Rogers    on behalf of Creditor Joplin Regional Stockyards johnr@rubin-levin.net,
               susan@rubin-levin.net
              John M. Thompson    on behalf of Creditor Heritage Feeders LP john.thompson@crowedunlevy.com,
               jody.moore@crowedunlevy.com,donna.hinkle@crowedunlevy.com
              John R. Carr    on behalf of Creditor First Bank and Trust Company, The jrciii@acs-law.com,
               sfinnerty@acs-law.com
              John W Ames    on behalf of Creditor Joplin Regional Stockyards james@bgdlegal.com,
               smays@bgdlegal.com;tmills@bgdlegal.com
              Joseph H Rogers    on behalf of Defendant Nichols Livestock jrogers@millerdollarhide.com,
               cdow@millerdollarhide.com
              Joshua N. Stine    on behalf of Counter-Defendant Fifth Third Bank kabritt@vorys.com
              Judy Hamilton Morse    on behalf of Creditor Heritage Feeders LP judy.morse@crowedunlevy.com,
               ecf@crowedunlevy.com;donna.hinkle@crowedunlevy.com;karol.brown@crowedunlevy.com
              Karen L. Lobring    on behalf of Creditor Deere & Company lobring@msn.com
              Kelly Greene McConnell    on behalf of Creditor Supreme Cattle Feeders, L.L.C.
               lisahughes@givenspursley.com
              Kent A Britt    on behalf of Counter-Defendant Fifth Third Bank kabritt@vorys.com,
               cbkappes@vorys.com
              Kevin M. Toner    on behalf of Counter-Claimant James Knauer kevin.toner@faegrebd.com,
               judy.ferber@faegrebd.com;crystal.hansen@faegrebd.com
              Kim Martin Lewis    on behalf of Other Professional Elizabeth Lynch kim.lewis@dinslaw.com,
               lisa.geeding@dinslaw.com;patrick.burns@dinslaw.com
              Kirk Crutcher     on behalf of Counter-Defendant Gene Shipman kcrutcher@mcs-law.com,
               jparsons@mcs-law.com;cmarshall@mcs-law.com
              Laura Day DelCotto    on behalf of Creditor Alton Darnell dba Darnell Alton Barn
               ldelcotto@dlgfirm.com, dlgecf@dlgfirm.com;dlgecfs@gmail.com
              Lisa Koch Bryant    on behalf of Creditor Peoples Bank & trust Co. of Pickett County
               courtmail@fbhlaw.net
              Mark A. Robinson    on behalf of Creditor Cactus Growers, Inc. mrobinson@vhrlaw.com,
               dalbers@vhrlaw.com
              Matthew J. Ochs    on behalf of Creditor Peoples Bank of Coldwater Kansas kim.maynes@moyewhite.com
              Melissa S. Giberson    on behalf of Counter-Defendant Fifth Third Bank msgiberson@vorys.com
              Meredith R. Thomas    on behalf of Other Professional Kathryn Pry mthomas@daleeke.com
              Michael W. McClain    on behalf of Creditor Grant Gibson mike@kentuckytrial.com,
               laura@kentuckytrial.com
              Michael Wayne Oyler    on behalf of Creditor Your Community Bank moyler@rwsvlaw.com
              Peter M Gannott    on behalf of Counter-Claimant Laurel Livestock Market, INC.
               pgannott@gannottlaw.com, ahanover@gannottlaw.com;mkeane@gannottlaw.com
              Randall D. LaTour    on behalf of Counter-Defendant Fifth Third Bank RDLatour@vorys.com,
               khedwards@vorys.com;bjtobin@vorys.com
              Robert A. Bell    on behalf of Counter-Defendant Fifth Third Bank rabell@vorys.com,
               dmchilelli@vorys.com
              Robert H. Foree    on behalf of Creditor Kentucky Cattlemen’s Association
               robertforee@bellsouth.net
              Robert K Stanley    on behalf of Defendant Eastern Livestock Co., LLC robert.stanley@FaegreBD.com
              Ross A. Plourde    on behalf of Creditor Crumpler Bros. ross.plourde@mcafeetaft.com,
               erin.clogston@mcafeetaft.com
              Sandra D. Freeburger    on behalf of Creditor Estate of John S. Gibson, Anna Gayle Gibson, Execu
               sfreeburger@dsf-atty.com, smattingly@dsf-atty.com
              Sarah Stites Millspaugh    on behalf of Creditor Intrust Bank, NA smillspaugh@hopperblackwell.com,
               mroth@hopperblackwell.com;kellis@hopperblackwell.com
              Sean T. White    on behalf of Trustee James Knauer swhite@hooverhull.com, vwilliams@hooverhull.com
              Shawna M Eikenberry    on behalf of Counter-Claimant James Knauer shawna.eikenberry@faegrebd.com,
               sarah.herendeen@faegrebd.com
              Shiv Ghuman O’Neill    on behalf of Plaintiff James Knauer, Trustee shiv.oneill@faegrebd.com
              Stephen A. Weigand    on behalf of Creditor First Bank and Trust Company, The sweigand@ficlaw.com
              Steven A. Brehm    on behalf of Cross Defendant Superior Livestock Auction, Inc.
               sbrehm@bgdlegal.com, bbaumgardner@bgdlegal.com;smays@bgdlegal.com
              Susan K. Roberts    on behalf of Creditor Rex Elmore skr@stuartlaw.com, lbt@stuartlaw.com
              T. Kent Barber    on behalf of Creditor Blue Grass Maysville Stockyards, LLC kbarber@dlgfirm.com,
               dlgecf@dlgfirm.com;dlgecfs@gmail.com
              Terry E. Hall    on behalf of Intervenor James Knauer, Trustee terry.hall@faegrebd.com,
               sharon.korn@faegrebd.com;sarah.herendeen@faegrebd.com
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The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Theodore A Konstantinopoulos    on behalf of Creditor General Electric Capital Corporation
               ndohbky@jbandr.com
              Thomas C Scherer    on behalf of Creditor Cullman Stockyard, Inc. tscherer@bgdlegal.com,
               mmcclain@bgdlegal.com
              Timothy T. Pridmore    on behalf of Counter-Claimant Gabriel Moreno tpridmore@mcjllp.com,
               lskibell@mcjllp.com
              Todd J. Johnston    on behalf of Counter-Claimant Gabriel Moreno tjohnston@mcjllp.com
              Trevor L. Earl    on behalf of Creditor Your Community Bank tearl@rwsvlaw.com
              U.S. Trustee    ustpregion10.in.ecf@usdoj.gov
              Walter Scott Newbern    on behalf of Creditor Arcadia Stockyard wsnewbern@msn.com
              Wendy W Ponader    on behalf of Trustee James Knauer wendy.ponader@faegrebd.com,
               sarah.herendeen@faegrebd.com
              William E Smith    on behalf of Creditor Coffeyville Livestock Market, LLC wsmith@k-glaw.com,
               pballard@k-glaw.com
              William Robert Meyer    on behalf of Creditor Republic Bank and Trust Company rmeyer@stites.com
                                                                                             TOTAL: 98
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                             UNITED STATES BANKRUPTCY COURT                       SF00200 (rev 07/2010)
                               SOUTHERN DISTRICT OF INDIANA
                                    121 W Spring St Rm 110
                                     New Albany, IN 47150

In Re:
    Eastern Livestock Co., LLC                              Case Number:
       SSN: NA               EIN: NA                        10−93904−BHL−11
    Debtor(s)

                                             NOTICE

   NOTICE IS HEREBY GIVEN that the Court will consider and act upon the following matters
and to transact such other business as may properly come before the Court:

      Status Conference Re:
      (1) Trustee's Motion To Stay Deadlines In Elmore Contested Matter filed by Kevin M.
      Toner on behalf of Trustee James A. Knauer [1072] and

      (2) Trustee's Motion To Stay Deadlines In Coffeyville Contested Matter filed by
      Kevin M. Toner on behalf of Trustee James A. Knauer [1073].

      Date: March 12, 2012
      Time: 10:00 AM EDT
      Place: Rm. 103 Federal Building, 121 W. Spring St., New Albany, IN 47150

   Motions for continuances must be filed as soon as the cause for continuance or delay is
discovered by the party requesting the continuance and no later than seven (7) days before the
date of the hearing. Motions for continuances filed less than seven (7) days before the hearing
date will be granted only upon a showing of good cause. Every motion for continuance shall
denominate whether opposing counsel objects to the continuance or what efforts were made to
contact opposing counsel regarding such request for continuance.

   The above−referenced document is available on the Court's PACER site at
http://pacer.insb.uscourts.gov or it may be requested from the filer.

Dated: March 7, 2012                             KEVIN P. DEMPSEY, CLERK
                                                 U.S. BANKRUPTCY COURT
